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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                      Case No. 23-10831 (MFW)

                                                          (Jointly Administered)
              Debtors.
                                                          Related to Docket Nos. 234, 294, and 675


       SECOND SUPPLEMENTAL DECLARATION OF DEBORAH KOVSKY-APAP
      IN SUPPORT OF APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
      THE EMPLOYMENT AND RETENTION OF TROUTMAN PEPPER HAMILTON
            SANDERS LLP AS COUNSEL TO THE OFFICIAL COMMITTEE
            OF UNSECURED CREDITORS EFFECTIVE AS OF JULY 17, 2023

                   I, Deborah Kovsky-Apap, under penalty of perjury, state as follows:

             1.    I am a partner at the law firm of Troutman Pepper Hamilton Sanders LLP

(“Troutman Pepper”), which maintains offices at, among other locations, 875 Third Avenue, New

York, New York 10022. I am a member in good standing of the Bars of the States of New York,

New Jersey and Michigan and I have been admitted to practice in each of those states. I am also

admitted pro hac vice in the above-captioned cases. There are no disciplinary proceedings pending

against me.

             2.    I submit this declaration (the “Second Supplemental Declaration”) to supplement

(i) my declaration, dated August 7, 2023, attached as Exhibit A to the Application for Entry of an

Order Authorizing the Employment and Retention of Troutman Pepper Hamilton Sanders LLP as

Counsel to the Official Committee of Unsecured Creditors Effective as of July 17, 2023 [Docket




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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No. 234] (the “Application”)2 and (ii) the First Supplemental Declaration of Deborah Kovsky-

Apap in Support of Application for Entry of an Order Authorizing the Employment and Retention

of Troutman Pepper Hamilton Sanders LLP as Counsel to the Official Committee of Unsecured

Creditors Effective as of July 17, 2023 [Docket No. 675] (the “First Supplemental Declaration”).

This Second Supplemental Declaration is intended to supplement the declaration appended to the

Application and the First Supplemental Declaration, and in no way replaces anything set forth in

the Application, its appended declaration, or the First Supplemental Declaration.

          3.     Except as otherwise indicated, I have personal knowledge of the matters set forth

herein.

          4.     Troutman Pepper conducted, and continues to conduct, searches into its

relationships with the Debtors, their creditors and other parties in interest in these chapter 11 cases.

In connection with this continued search, Troutman Pepper hereby discloses the following search:


                                                                                 Relationship to
                  Name                 Relationship to Debtors
                                                                                Troutman Pepper
                                            Excess Insurance                 CapSpecialty is a current
               CapSpecialty
                                            Policy Providers                client of Troutman Pepper


          5.     Troutman Pepper very recently learned that CapSpecialty, which provided an

excess insurance policy to the Debtors, is being represented by Troutman Pepper attorneys.

CapSpecialty was not previously identified by the Debtors as a potential party in interest.

Troutman’s representation of CapSpecialty may involve issues related to the Debtors’ insurance

coverage. An ethical screen has been established and no Troutman personnel engaged on behalf



2
    Capitalized terms used but not defined herein are ascribed the definitions given to them in the Application. By
    this Second Supplemental Declaration, Troutman Pepper does not waive the First Supplemental Declaration or
    the Application and its contents and appended exhibits, and hereby reserves and preserves all privileges.
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of CapSpecialty will take part in the representation of the Committee. Should a direct conflict

arise, the Troutman Committee counsel will engage conflicts counsel to deal with such issues.

       6.      Should any additional information relevant to Troutman Pepper’s retention and

employment in the above-captioned cases come to Troutman Pepper’s attention, Troutman Pepper

will file additional supplemental declarations.



I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.



Dated: January 19, 2024                         /s/ Deborah Kovsky-Apap
                                               Deborah Kovsky-Apap, Esq.




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                                   CERTIFICATE OF SERVICE

               I, Tori L. Remington, hereby certify that on January __, 2024, I caused the foregoing

Second Supplemental Declaration of Deborah Kovsky-Apap in Support of Application for Entry

of an Order Authorizing the Employment and Retention of Troutman Pepper Hamilton Sanders

LLP as Counsel to the Official Committee of Unsecured Creditors Effective as of July 17, 2023 to

be served upon the parties set forth on the attached service list in the manner indicated, and all ECF

participants registered in these cases were served electronically on the date of filing through the

Court’s ECF system at their respective email addresses registered with the Court.

                                           /s/ Tori L. Remington
                                           Tori L. Remington (DE No. 6901)




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